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Attorneys for Plaintiffs Salix Pharmaceuticals, Inc.,
Salix Pharmaceuticals, Ltd., Alfasigma S.p.A., and
Bausch Health Ireland Ltd.
                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
 SALIX PHARMACEUTICALS, INC.,
 SALIX PHARMACEUTICALS, LTD.,
 ALFASIGMA S.P.A. and BAUSCH
 HEALTH IRELAND LTD.,                                        Case No.: 1:24-cv-10213

                        Plaintiffs,
                                                                  COMPLAINT
        v.
                                                           Document Filed Electronically
 CIPLA USA, INC., and CIPLA LIMITED,

                        Defendants.


       Plaintiffs Salix Pharmaceuticals, Inc.; Salix Pharmaceuticals, Ltd.; Alfasigma, S.p.A.; and

Bausch Health Ireland, Ltd. (collectively, “Salix”), by their attorneys, Morgan, Lewis & Bockius
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LLP, file this Complaint for patent infringement against Cipla USA, Inc. (“Cipla USA”), and Cipla

Limited (collectively “Cipla” or “Defendants”) and hereby allege as follows:

       1.      This is an action for patent infringement under the patent laws of the United States,

Title 35, United States Code, and for a declaratory judgment of patent infringement under 28

U.S.C. §§ 2201 and 2202 and the patent laws of the United States, Title 35, United States Code,

that arises out of Defendants’ submission of an Abbreviated New Drug Application (“ANDA”) to

the U.S. Food and Drug Administration (“FDA”) seeking approval to commercially manufacture,

use, offer for sale, sell, and/or import generic versions of Xifaxan® (rifaximin tablets, 550 mg)

prior to the expiration of U.S. Patent Nos. 11,564,912 (the “’912 patent”), 11,779,571 (the “’571

patent”) and U.S. Patent No. 8,193,196 (the “’196 patent”) (collectively, the “Xifaxan® patents”

or “patents-in-suit”).

       2.      By letter dated September 18, 2024 (“Notice Letter”), Defendants notified Salix

that they had submitted to FDA ANDA No. 219570 (“Cipla ANDA”), seeking approval from FDA

to engage in the commercial manufacture, use, and/or sale of generic rifaximin 550 mg tablets

(“Cipla’s ANDA Product”) under 21 U.S.C. § 355(j) prior to the expiration of the Xifaxan®

patents. The Notice Letter stated that Defendants have received a Paragraph IV acceptance

acknowledgement receipt letter from FDA.

                                            PARTIES

       3.      Plaintiff Salix Pharmaceuticals, Inc. is a corporation organized and existing under

the laws of California having its principal place of business at 400 Somerset Corporate Blvd.,

Bridgewater, New Jersey 08807.




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       4.        Plaintiff Salix Pharmaceuticals, Ltd. is a corporation organized and existing under

the laws of Delaware having its principal place of business at 400 Somerset Corporate Blvd.,

Bridgewater, New Jersey 08807.

       5.        Plaintiff Alfasigma S.p.A. is a corporation organized and existing under the laws

of Italy having a principal place of business at Via Ragazzi del ’99, 5, 40133 Bologna, Italy.

       6.        Plaintiff Bausch Health Ireland Ltd. is a company organized and existing under the

laws of Ireland having an office at 3013 Lake Drive, Citywest Business Campus, Dublin 24, D24

PPT3, Ireland.

       7.        On information and belief, defendant Cipla USA is a corporation organized and

existing under the laws of Delaware with its principal place of business at 10 Independence

Boulevard, Suite 300, Warren, New Jersey 07059. On information and belief, Cipla USA is in the

business of, among other things, manufacturing and selling generic versions of branded

pharmaceutical products for the U.S. market.

       8.        On information and belief, Cipla Limited is a company organized and existing

under the laws of the Republic of India, with its principal place of business at Cipla House,

Peninsula Business Park, Ganpatrao Kadam Marg, Lower Parel, Mumbai 400 013, Maharashtra,

India. On information and belief, Cipla Limited is in the business of, among other things,

manufacturing and selling generic versions of branded pharmaceutical products through various

operating subsidiaries, including Cipla USA.

       9.        On information and belief, Cipla USA is a wholly owned subsidiary of Cipla

Limited.




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       10.     On information and belief, Cipla USA and Cipla Limited acted in concert to prepare

the Cipla ANDA. On information and belief, both Cipla USA and Cipla Limited assisted with the

preparation of the Cipla ANDA.

       11.     On information and belief, Cipla USA and Cipla Limited acted in concert to submit

the Cipla ANDA to FDA. On information and belief, Cipla Limited directed Cipla USA to submit

the Cipla ANDA from Cipla USA’s principal place of business in New Jersey.

       12.     On information and belief, if the Cipla ANDA were approved, Cipla USA and Cipla

Limited would directly or indirectly market, sell, and distribute the ANDA Product throughout the

United States, including in New Jersey. On information and belief, Cipla USA and Cipla Limited

are agents of each other, and/or operate in concert as integrated parts of the same business group,

including regarding the ANDA Product, and enter into intercompany agreements with each other.

On information and belief, Cipla USA and Cipla Limited participated in, assisted, and cooperated

with each other in the acts complained of herein.

       13.     On information and belief, following any FDA approval of the Cipla ANDA, Cipla

USA and Cipla Limited will act in concert to distribute and sell the ANDA Product throughout the

United States, including within New Jersey.

                                JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a),

2201 and 2202.

       15.     Cipla USA is subject to personal jurisdiction in New Jersey because, among other

things, it has purposely availed itself of the benefits and protections of New Jersey’s laws such

that it should reasonably anticipate being haled into court here. Cipla USA is qualified to do

business in New Jersey and has its principal place of business in New Jersey. On information and




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belief, Cipla USA develops, manufactures, imports, markets, offers to sell, and/or sells generic

drugs throughout the United States, including in New Jersey and therefore transacts business

within New Jersey related to Salix’s claims, and/or has engaged in systematic and continuous

business contacts within New Jersey. It therefore has consented to general jurisdiction in New

Jersey.

          16.   On information and belief, the Court has personal jurisdiction over Cipla USA

because Cipla USA regularly engages in patent litigation concerning FDA approved branded drug

products in this District and purposefully avails itself of the rights and benefits of this Court by

asserting claims and/or counterclaims in this District, including the following: Teva Branded

Pharm. Prod. R&D, Inc., et al. v. Cipla USA, Inc. and Cipla Ltd., No. 2:24-cv-05856 (D.N.J. Jul.

3, 2024) (ECF. 11); Par Pharm., Inc., et al. v. Cipla Ltd. & Cipla USA, Inc., No. 2:23-cv-01150

(D.N.J. Mar. 23, 2023) (ECF. 5); Fennec Pharm., Inc., et al. v. Cipla Ltd. & Cipla USA, Inc., No.

2:23-cv-00123 (D.N.J. Mar. 27, 2023) (ECF. 22); Cubist Pharmaceuticals. LLC v. Cipla USA, Inc.

& Cipla Ltd., No. 3:19-cv-12920 (D.N.J. Jul. 2, 2019) (ECF. 15).

          17.   Cipla Limited is subject to personal jurisdiction in New Jersey because, among

other things, Cipla Limited itself, and through its wholly owned subsidiary Cipla USA, has

purposefully availed itself of the benefits and protections of New Jersey’s laws such that it should

reasonably anticipate being haled into court here. On information and belief, Cipla Limited itself,

and through its wholly owned subsidiary Cipla USA, develops, manufactures, imports, markets,

offers to sell, and/or sells generic drugs throughout the United States, including in New Jersey,

and therefore transacts business within the New Jersey, and/or has engaged in systematic and

continuous business contacts within the New Jersey. In addition, Cipla Limited is subject to




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personal jurisdiction in New Jersey because, on information and belief, it controls Cipla USA, and

therefore Cipla USA’s activities in this jurisdiction are attributed to Cipla Limited.

       18.     On information and belief, Cipla Limited consented to jurisdiction, did not contest

jurisdiction, and asserted claims and/or counterclaims in New Jersey in one or more prior

litigations, including the following: Teva Branded Pharm. Prod. R&D, Inc., et al. v. Cipla USA,

Inc. and Cipla Ltd., No. 2:24-cv-05856 (D.N.J. Jul. 3, 2024) (ECF. 11); Teva Branded Pharm.

Prod. R&D, Inc., et al. v. Cipla Ltd., No. 2:20-cv-14890 (D.N.J. Oct. 27, 2020) (ECF. 8); Par

Pharm., Inc., et al. v. Cipla Ltd. & Cipla USA, Inc., No. 2:23-cv-01150 (D.N.J. Mar. 23, 2023)

(ECF. 5); Fennec Pharm., Inc., et al. v. Cipla Ltd. & Cipla USA, Inc., No. 2:23-cv-00123 (D.N.J.

Mar. 27, 2023) (ECF. 22); Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731 (D.N.J. Aug. 26, 2019)

(ECF. 11); Cubist Pharmaceuticals LLC v. Cipla USA, Inc. & Cipla Ltd., No. 3:19-cv-12920

(D.N.J. Jul. 2, 2019) (ECF. 15).

       19.     In the alternative, this Court has personal jurisdiction over Cipla Limited under

Federal Rule of Civil Procedure 4(k)(2)(A) because: (a) Salix’s claims arise under federal law; (b)

Cipla Limited is a foreign defendant not subject to personal jurisdiction in the courts of any State;

and (c) Cipla Limited has sufficient contacts with the United States as a whole, including, but not

limited to, filing ANDAs with the FDA and manufacturing and selling generic pharmaceutical

products that are distributed throughout the United States, such that this Court’s exercise of

jurisdiction over Cipla Limited satisfies due process, and is consistent with the Constitution and

laws of the United States.

       20.     On information and belief, if the Cipla ANDA were approved, Defendants would

directly or indirectly manufacture, market, sell, and/or distribute the ANDA Product within the

United States, including in New Jersey, consistent with Defendants’ practices for the marketing




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and distribution of other generic pharmaceutical products. On information and belief, Defendants

regularly do business in New Jersey, and they have placed other generic pharmaceutical products

into the stream of commerce for distribution throughout the United States, including in New

Jersey. On information and belief, Defendants’ generic pharmaceutical products are used and/or

consumed within and throughout the United States, including in New Jersey. On information and

belief, the ANDA Product will be prescribed by physicians practicing in New Jersey, dispensed

by pharmacies located within New Jersey, and used by patients in New Jersey. Each of these

activities would have a substantial effect within New Jersey and would constitute infringement of

the patents-in-suit in the event that the ANDA Product is approved before the patents-in-suit

expire.

          21.   Pursuant to 28 U.S.C. §§ 1391 and 1400(b), venue is proper in this District as to

Cipla USA because, amongst other things, on information and belief, Cipla USA (a) has its

principal place of business in New Jersey and is subject to personal jurisdiction in this District; (b)

has acted in concert with Cipla Limited to seek approval from FDA to market and sell the ANDA

Product in this District; (c) prepared and submitted the Cipla ANDA from its principal place of

business in New Jersey; (d) conducts business, alone and/or in concert with Cipla Limited, from

its place of business located in this District; (e) has engaged in regular and established business

contacts with New Jersey by, among other things, contracting and engaging in related commercial

activities concerning the marketing, making, shipping, using, offering to sell or selling Defendants’

products in this District, and deriving substantial revenue from such activities; and (f) will directly

benefit from the approval of the Cipla ANDA.




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          22.   On information and belief, Cipla USA is in the business of preparing and submitting

ANDAs on behalf of its related entities, including Cipla Limited, from its principal place of

business in New Jersey.

          23.   On information and belief, Cipla USA is regularly compensated for its services of

preparing and submitting ANDAs on behalf of its related entities, including Cipla Limited.

          24.   On information and belief, Cipla Limited consented to Cipla USA acting on its

behalf when it engaged Cipla USA to prepare and submit the Cipla ANDA on Cipla Limited’s

behalf.

          25.   On information and belief, Cipla USA acted and continues to act on Cipla Limited’s

behalf. On information and belief, Cipla Limited owns the Cipla ANDA and thus controlled and

directed Cipla USA’s acts related to the preparation and submittal of the Cipla ANDA.

          26.   On information and belief, Cipla USA is Cipla Limited’s agent regarding the Cipla

ANDA, and in that capacity, Cipla USA prepared and submitted the Cipla ANDA on Cipla

Limited’s behalf from its principal place of business in New Jersey.

          27.   On information and belief, Cipla USA consented to venue, did not contest venue,

and asserted claims and/or counterclaims in New Jersey in one or more prior litigations, including

the following: Teva Branded Pharm. Prod. R&D, Inc., et al. v. Cipla USA, Inc. and Cipla Ltd.,

No. 2:24-cv-05856 (D.N.J. Jul. 3, 2024) (ECF. 11); Par Pharm., Inc., et al. v. Cipla Ltd. & Cipla

USA, Inc., No. 2:23-cv-01150 (D.N.J. Mar. 23, 2023) (ECF. 5); Fennec Pharm., Inc., et al. v. Cipla

Ltd. & Cipla USA, Inc., No. 2:23-cv-00123 (D.N.J. Mar. 27, 2023) (ECF. 22); Cubist

Pharmaceuticals. LLC v. Cipla USA, Inc. & Cipla Ltd., No. 3:19-cv-12920 (D.N.J. Jul. 2, 2019)

(ECF. 15).




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          28.   Pursuant to 28 U.S.C. §§ 1391 and 1400(b), venue is proper in this district as to

Cipla Limited because, amongst other things, Cipla Limited is a company organized and existing

under the laws of the Republic of India and is subject to personal jurisdiction in this judicial district.

          29.   Cipla Limited owns the Cipla ANDA and will directly benefit from the approval of

Cipla’s ANDA.

          30.   On information and belief, Cipla USA is Cipla Limited’s agent, and in that capacity,

Cipla USA prepared and submitted the Cipla ANDA on Cipla Limited’s behalf from its principal

place of business in New Jersey.

          31.   On information and belief, Cipla Limited consented to Cipla USA acting on its

behalf when it engaged Cipla USA to prepare and submit the Cipla ANDA on Cipla Limited’s

behalf.

          32.   On information and belief, Cipla USA consented to act on behalf of Cipla Limited

when it submitted the Cipla ANDA.

          33.   On information and belief, Cipla Limited controlled and directed Cipla USA’s acts

related to the preparation and submittal of the Cipla ANDA.

          34.   On information and belief, by virtue of its agency relationship with Cipla USA,

Cipla Limited has a regular and established place of business in New Jersey.

          35.   On information and belief, Cipla Limited consented to venue, did not contest venue,

and asserted claims and/or counterclaims in New Jersey in one or more prior litigations, including

the following: Teva Branded Pharm. Prod. R&D, Inc., et al. v. Cipla USA, Inc. and Cipla Ltd.,

No. 2:24-cv-05856 (D.N.J. Jul. 3, 2024) (ECF. 11); Teva Branded Pharm. Prod. R&D, Inc., et al.

v. Cipla Ltd., No. 2:20-cv-14890 (D.N.J. Oct. 27, 2020) (ECF. 8); Par Pharm., Inc., et al. v. Cipla

Ltd. & Cipla USA, Inc., No. 2:23-cv-01150 (D.N.J. Mar. 23, 2023) (ECF. 5); Fennec Pharm., Inc.,




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et al. v. Cipla Ltd. & Cipla USA, Inc., No. 2:23-cv-00123 (D.N.J. Mar. 27, 2023) (ECF. 22);

Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731 (D.N.J. Aug. 26, 2019) (ECF. 11); Cubist

Pharmaceuticals LLC v. Cipla USA, Inc. & Cipla Ltd., No. 3:19-cv-12920 (D.N.J. Jul. 2, 2019)

(ECF. 15).

                                     THE XIFAXAN® NDA

       36.     Salix Pharmaceuticals, Inc. holds the approved New Drug Application (“NDA”)

Nos. 021361 and 022554 (a supplement to NDA No. 021361 that was granted a new NDA number

for Xifaxan® (rifaximin) 550 mg tablets).

       37.     FDA approved NDA No. 021361 for Xifaxan® 200 mg tablets on May 25, 2004

and approved NDA No. 022554 for Xifaxan® 550 mg tablets on March 24, 2010. Xifaxan® 550

mg tablets are indicated for the reduction in risk of overt hepatic encephalopathy recurrence in

adults and the treatment of irritable bowel syndrome with diarrhea (“IBS-D”) in adults.

                                   THE PATENTS-IN-SUIT

       38.     On October 10, 2023, the ’571 patent, titled “Methods for Treating Irritable Bowel

Syndrome (IBS),” was duly and legally issued to Salix Pharmaceuticals, Inc. as assignee. A true

and correct copy of the ’571 patent is attached hereto as Exhibit A.

       39.     On January 31, 2023, the ’912 patent, titled “Methods for Treating Irritable Bowel

Syndrome (IBS),” was duly and legally issued to Salix Pharmaceuticals, Inc. as assignee. A true

and correct copy of the ’912 patent is attached hereto as Exhibit B.

       40.     On June 5, 2012, the ’196 patent, titled “Polymorphous Forms of Rifaximin,

Processes for their Production and Use thereof in the Medicinal Preparations,” was duly and legally

issued to Alfa Wassermann, S.p.A. as assignee. AlfaSigma, S.p.A. is the successor to Alfa




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Wasserman, S.p.A. by operation of law. A true and correct copy of the ’196 patent is attached

hereto as Exhibit C.

       41.     In accordance with 21 U.S.C. § 355(b)(1) and 21 C.F.R. § 314.53, the ’571 patent,

the ’912 patent, and the ’196 patent are listed in the FDA’s Approved Drug Products with

Therapeutic Equivalence Evaluations (also known as the “Orange Book”) for Xifaxan®.

       42.     Pursuant to agreements entered into between Bausch Health Ireland Ltd., Salix

Pharmaceuticals, Inc., and Alfasigma S.p.A., Bausch Health Ireland Ltd. and Salix

Pharmaceuticals, Inc. have substantial rights in the ’196 patent, including, but not limited to, an

exclusive license to those patents in the United States and the right to sue for infringement of those

patents in the United States. Pursuant to those agreements, Salix Pharmaceuticals, Inc. is the sole

distributor in the United States of Xifaxan® tablets.

                    CLAIMS FOR RELIEF – PATENT INFRINGEMENT

       43.     On information and belief, Defendants submitted the Cipla ANDA to FDA under

Section 505(j) of the Federal Food, Drug, and Cosmetic Act, seeking approval to engage in the

commercial manufacture, use, and sale of Cipla’s ANDA Product as a generic version of Xifaxan®

550 mg tablets.

       44.     On information and belief, the Cipla ANDA seeks FDA approval of Cipla’s ANDA

Product for the indication of the treatment of IBS-D in adults.

       45.     The Notice Letter stated that the Cipla ANDA includes a certification pursuant to

21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Paragraph IV Certification”) regarding several Xifaxan®

patents, including the ’571 patent, the ’912 patent, and the ’196 patent, and that, in Defendants’

opinion, certain claims of the Xifaxan® patents are invalid, unenforceable, and/or not infringed.




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       46.      The Notice Letter does not allege non-infringement of the claims of the ’571 patent

and the ’912 patent.

       47.      By not identifying non-infringement defenses for the claims of the ’571 patent and

’912 patent in the Notice Letter, Defendants admit the ANDA Product meets all limitations of

those claims.

       48.      The Notice Letter does not allege invalidity under 35 U.S.C. §§ 101, 102, or 112,

or unenforceability of any claims of the ’571 patent or the ’912 patent.

       49.      By not identifying invalidity defenses under 35 U.S.C. §§ 101, 102, or 112, or

unenforceability defenses for the ’571 patent and the ’912 patent in the Notice Letter, Defendants

admit the claims of the ’571 patent and the ’912 patent are valid under 35 U.S.C. §§ 101, 102, and

112, and are enforceable.

       50.      The Notice Letter does not allege invalidity under 35 U.S.C. §§ 101, 102, or 103,

or unenforceability of any claims of the ’196 patent.

       51.      By not identifying invalidity defenses under 35 U.S.C. §§ 101, 102, or 103, or

unenforceability defenses for the ’196 patent in the Notice Letter, Defendants admit the claims of

the ’196 patent are valid under 35 U.S.C. §§ 101, 102, and 103, and are enforceable.

       52.      On information and belief, Defendants’ statements of the factual and legal bases

for its assertions regarding non-infringement and invalidity of the Xifaxan® patents are devoid of

an objective good faith basis in either facts or the law. This case is exceptional.

       53.      An actual, real, immediate, and justiciable controversy exists between Salix and

Defendants regarding the infringement, validity, and enforceability of the Xifaxan® patents.

       54.      Salix is commencing this action within 45 days of receiving the Notice Letter

pursuant to 21 U.S.C. § 355(j)(5)(B)(iii).




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                                           COUNT I
                                (Infringement of the ’571 Patent)

          55.   Salix incorporates the allegations in the preceding paragraphs as if fully set forth

herein.

          56.   By submitting the Cipla ANDA to FDA to obtain approval under the Federal Food,

Drug, and Cosmetic Act to engage in the commercial manufacture, use, offer for sale, sale and/or

importation of the Cipla ANDA Product throughout the United States, including New Jersey, prior

to the expiration of the ’571 patent, Defendants committed an act of infringement of the ’571 patent

under 35 U.S.C. § 271(e)(2)(A).

          57.   The ’571 patent claims, inter alia, methods of treating diarrhea-associated irritable

bowel syndrome with rifaximin.

          58.   Defendants manufacture, use, sale, offer for sale, or importation into the United

States of Cipla’s ANDA Product prior to the expiration of the ’571 patent, including any applicable

exclusivities or extensions, would infringe one or more claims of the ’571 patent under 35 U.S.C.

§ 271(b) either literally or under the doctrine of equivalents.

          59.   On information and belief, Cipla’s ANDA Product, if approved by FDA, would be

prescribed and administered to human patients to relieve the signs and symptoms of IBS-D in

patients, which uses would constitute direct infringement of one or more claims of the ’571 patent.

          60.   On information and belief, these directly infringing uses would occur with

Defendants’ specific intent and encouragement and would be uses that Defendants know or should

know will occur.

          61.   On information and belief, Defendants’ induced infringement of the ’571 patent

would be willful, intentional, deliberate, and in conscious disregard of Salix’s rights under the

patent.



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          62.   On information and belief, Defendants would actively induce, encourage, aid, and

abet this prescription and administration, with knowledge and specific intent that these uses would

contravene Salix’s rights under the ’571 patent.

          63.   On information and belief, Defendants know or should know that its commercial

manufacture, use, offer for sale, sale, and/or importation of the Cipla ANDA Product prior to the

’571 patent’s expiry would induce the direct infringement of one or more claims of the ’571 patent.

          64.   On information and belief, Defendants’ acts would be performed with knowledge

of the ’571 patent and with intent to encourage infringement prior to the ’571 patent’s expiry.

          65.   Defendants were aware of the ’571 patent and its listing in the Orange Book as

demonstrated by Defendants’ reference to the ’571 patent in the Notice Letter.

          66.   Salix would be substantially and irreparably harmed by these infringing activities

unless those activities are enjoined by this Court. Salix does not have an adequate remedy at law.

                                          COUNT II
                                (Infringement of the ’912 Patent)

          67.   Salix incorporates the allegations in the preceding paragraphs as if fully set forth

herein.

          68.   By submitting the Cipla ANDA to FDA to obtain approval under the Federal Food,

Drug, and Cosmetic Act to engage in the commercial manufacture, use, offer for sale, sale, and/or

importation of Cipla’s ANDA Product throughout the United States, including New Jersey, prior

to the expiration of the ’912 patent, Defendants committed an act of infringement of the ’912 patent

under 35 U.S.C. § 271(e)(2)(A).

          69.   The ’912 patent claims, inter alia, methods of treating irritable bowel syndrome

with rifaximin.




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          70.   Defendants manufacture, use, sale, offer for sale, or importation into the United

States of Cipla’s ANDA Product prior to the expiration of the ’912 patent, including any applicable

exclusivities or extensions, would infringe one or more claims of the ’912 patent under 35 U.S.C.

§ 271(b) either literally or under the doctrine of equivalents.

          71.   On information and belief, Cipla’s ANDA Product, if approved by FDA, would be

prescribed and administered to human patients to relieve the signs and symptoms of irritable bowel

syndrome in patients, which uses would constitute direct infringement of one or more claims of

the ’912 patent.

          72.   On information and belief, these directly infringing uses would occur with

Defendants’ specific intent and encouragement and would be uses that Defendants know or should

know will occur.

          73.   On information and belief, Defendants’ induced infringement of the ’912 patent

would be willful, intentional, deliberate, and in conscious disregard of Salix’s rights under the

patent.

          74.   On information and belief, Defendants will actively induce, encourage, aid, and

abet this prescription and administration, with knowledge and specific intent that these uses would

contravene Salix’s rights under the ’912 patent.

          75.   On information and belief, Defendants know or should know that its commercial

manufacture, use, offer for sale, sale, and/or importation of Cipla’s ANDA Product prior to the

’912 patent’s expiry will induce the direct infringement of one or more claims of the ’912 patent.

          76.   On information and belief, Defendants’ acts would be performed with knowledge

of the ’912 patent and with intent to encourage infringement prior to the ’912 patent’s expiry.




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          77.   Defendants were aware of the existence of the ’912 patent and its listing in the

Orange Book as demonstrated by Defendants’ reference to the ’912 patent in the Notice Letter.

          78.   Salix would be substantially and irreparably harmed by these infringing activities

unless those activities are enjoined by this Court. Salix does not have an adequate remedy at law.

                                          COUNT III
                                (Infringement of the ’196 Patent)

          79.   Salix incorporates the allegations in the preceding paragraphs as if fully set forth

herein.

          80.   By submitting the Cipla ANDA to FDA to obtain approval under the Federal Food,

Drug, and Cosmetic Act to engage in the commercial manufacture, use, offer for sale, sale, and/or

importation of Cipla’s ANDA Product throughout the United States, including New Jersey, prior

to the expiration of the ’196 patent, Defendants committed an act of infringement of the ’196 patent

under 35 U.S.C. § 271(e)(2)(A).

          81.   The ’196 patent claims, inter alia, a composition comprising a polymorphic form

of rifaximin and methods of treating bacterial activity in the gastrointestinal tract using a

composition comprising a polymorphic form of rifaximin.

          82.   On information and belief, Defendants manufacture, use, sale, offer for sale, or

importation into the United States of Cipla’s ANDA Product prior to the expiration of the ’196

patent, including any applicable exclusivities or extensions, will infringe one or more claims of

the ’196 patent under 35 U.S.C. §§ 271(a)-(b) either literally or under the doctrine of equivalents.

          83.   On information and belief, Cipla’s ANDA Product, if approved by FDA, would be

prescribed and administered to human patients to relieve the signs and symptoms of irritable bowel

syndrome in patients, which uses would constitute direct infringement of one or more claims of

the ’196 patent.



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           84.   On information and belief, these directly infringing uses would occur with

Defendants’ specific intent and encouragement and would be uses that Defendants know or should

know will occur.

           85.   On information and belief, Defendants would actively induce, encourage, aid, and

abet this prescription and administration, with knowledge and specific intent that these uses would

contravene Salix’s rights under the ’196 patent.

           86.   On information and belief, Defendants’ direct infringement of the ’196 patent

would be willful, intentional, deliberate and in conscious disregard of Salix’s rights under the

patent.

           87.   On information and belief, Defendants know or should know that its commercial

manufacture, use, offer for sale, sale, and/or importation of Cipla’s ANDA Product prior to the

’196 patent’s expiry would induce the direct infringement of one or more claims of the ’196 patent.

           88.   On information and belief, Defendants’ acts would be performed with knowledge

of the ’196 patent and with intent to encourage infringement prior to the ’196 patent’s expiry.

           89.   Defendants were aware of the ’196 patent and its listing in the Orange Book as

demonstrated by Defendants’ reference to the ’196 patent in the Notice Letter.

           90.   Salix would be substantially and irreparably harmed by these infringing activities

unless those activities are enjoined by this Court. Salix does not have an adequate remedy at law.

                                     PRAYER FOR RELIEF

           WHEREFORE, Salix requests the following relief:

      i.         A judgment that the patents-in-suit have been infringed under 35 U.S.C. § 271(e)(2)

by Defendants’ submission of the Cipla ANDA to the FDA;




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     ii.       A judgment ordering that the effective date of any FDA approval of commercial

manufacture, use, or sale of the ANDA Product, or any other drug product the use of which

infringes the patents-in-suit, be not earlier than the expiration dates of said patents, inclusive of

any extension or additional period of exclusivity pursuant to 35 U.S.C. § 271(e)(4)(A);

     iii.      A preliminary and permanent injunction enjoining Defendants, and all persons

acting in concert with Defendants, from the commercial manufacture, use, sale, offer for sale, or

importation into the United States of the ANDA Product, or any other drug product whose use is

covered by the patents-in-suit, prior to the expiration of said patents, inclusive of any extension or

additional period of exclusivity;

     iv.       A judgment that the commercial manufacture, use, sale, offer for sale, and/or

importation into the United States of the ANDA Product, or any other drug product whose use is

covered by the patents-in-suit, prior to the expiration of said patents, will infringe and induce

infringement of said patents;

      v.       An order under 35 U.S.C. § 271(e)(4)(A) that the effective date of any FDA

approval of the Cipla ANDA under Section 505(j) of the Federal Food, Drug and Cosmetic Act

(21 U.S.C. § 355(j)) shall be a date that is not earlier than the expiration date of any of the patents

in suit, inclusive of any extension or additional period of exclusivity;

     vi.       A declaration that this is an exceptional case and an award of attorneys’ fees

pursuant to 35 U.S.C. § 285;

    vii.       Costs and expenses in this action; and

   viii.       Such further and other relief as this Court may deem just and proper.




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Dated: November 1, 2024                Respectfully submitted,


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